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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                      Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to:                  Judge M. Casey Rodgers
Jonathan Swaim, 8:20-cv-34303              Magistrate Judge Hope T. Cannon
Timothy Bush, 8:20-cv-34531
Ross Forrest, 8:20-cv-34768
Ivy Campbell, 8:20-cv-34949
Michael Hejmanowski, 8:20-cv-35070
Justin Mcshan, 7:20-cv-30099
Tyler Frey, 8:20-cv-35326
Gary Bergeron, 8:20-cv-35336
Mark Norman, 8:20-cv-35704
Willie Humes, 8:20-cv-35794
Terry Armstrong, 8:20-cv-35815
Dwan Jacobs, 8:20-cv-35463
Blaine Mott, 7:21-cv-05210
Steadman Friday, 7:21-cv-05264
Derrell Derouen, 7:23-cv-03557
Robert Williams, 3:22-cv-24152


                                    ORDER

      On May 1, 2024, the Court directed the two Primary Counsel for the above

claimants; i.e. Morris Bart, LLC, and Brett Coon and Associates, to show cause as

to whether their claimants’ Settlement Program Releases comply with the terms of

MSA I and CMO 58, and, if not, why sanctions should not be imposed for their

submission of a fraudulent Release. See ECF No. 4040. In responding, the two

Primary Counsel admitted they signed the Releases on behalf of their respective
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claimants but proffered several different explanations for why the Releases are not

fraudulent. See ECF Nos. 4044, 4048. The Court asked 3M for its position on the

matter, and 3M responded that 14 of the 16 Releases have been cured by Morris

Bart’s submission of a new “wet signed” signature for each of these claimants,

accompanied by a government-issued photo ID. 1 ECF Nos. 4053, 4059; see also

MSA I, ECF No. 3809 § 5.3. In 3M’s view, the question of whether the counsel-

signed Releases for these claimants are enforceable is now moot. The Court agrees

and elects not to impose sanctions.

       Notwithstanding, it is worth noting that, had Primary Counsel not cured the

deficiency by providing the “wet signatures,” the Releases as signed by Counsel

would not have been accepted by 3M and these claimants would not be eligible for

the Settlement Program and their cases would be subject to dismissal. Out of the

252,943 claimants participating in the Settlement Program—represented by 339

different Primary Counsel firms—only these two firms signed Releases for their

clients. This was obviously improper as part of the Settlement Program (as shown


       1
         As of the date of this order, Primary Counsel, Morris Bart is still attempting to obtain a
signed Release from its client, Dwan Jacobs, 8:20-cv-35463. 3M has stated that it will accept
Jacobs’ expected Release once a valid signature is obtained. See ECF No. 4059. This Court will
set a deadline for the submission of this Release by separate order.

        The remaining claimant at issue, Robert Williams, 3:22-cv-24152, is represented by the
other Primary Counsel, Brett Coon and Associates. Williams’ case was dismissed with prejudice
in February and the dismissal order has not been appealed. Williams is not eligible for the
Settlement Program and the Court considers the matter of his Release moot and resolved. See id;
see also ECF No. 4020. No sanctions will be imposed.
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by the 337 firms that did it correctly), given that the Releases contain waivers,

agreements, representations, and acknowledgements that must be personally made

by the claimant. Had the other 337 law firms done the same thing, this Settlement

Program would have been over before it started.

      SO ORDERED, on this 31st day of May, 2024.



                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
